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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 KNIGHT CAPITAL PARTNERS CORP.,

                Plaintiff,                                   Case Number 16-12022
 v.                                                          Honorable David M. Lawson

 HENKEL AG & COMPANY, KGAA,

                Defendant.
                                              /

       ORDER ADJOURNING TRIAL AND FINAL PRETRIAL DEADLINES AND
            DIRECTING PARTIES TO FILE SUPPLEMENTAL BRIEFS

        This matter is before the Court on the defendant’s motion for summary judgment. The

 Court has reviewed the submissions of the parties and heard oral argument on September 13, 2018.

 During the hearing the Court advised the parties that it would direct them to file supplemental

 briefs pointing out any evidence in the record that establishes either the presence or absence of a

 genuine issue of material fact about whether the defendant breached the confidentiality agreement.

 See Fed. R. Civ. P. 56(f).

        The Court also advised the parties during the hearing that it would adjourn the presently

 scheduled trial date and final pretrial deadlines to allow time for the supplemental briefing to be

 completed and for the Court to address the parties’ pending motions.

        Accordingly, it is ORDERED that the parties shall file supplemental briefs, not to exceed

 five pages, for the sole purpose of identifying the evidence in the record that demonstrates the

 presence or absence of a genuine issue of material fact about whether the defendant breached the

 confidentiality agreement. The plaintiff’s brief must be filed on or before September 20, 2018,

 and the defendant’s brief must be filed on or before September 27, 2018.
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        It is further ORDERED that the draft joint final pretrial order must be submitted to the

 Court in chambers in electronic form (Microsoft Word) on or before November 27, 2018.

        It is further ORDERED that the parties must appear for a final pretrial conference on

 December 4, 2018 at 3:00 p.m.

        It is further ORDERED that the hearing on the parties’ motions in limine [157, 158] is

 ADJOURNED to December 4, 2018 at 3:00 p.m.

        It is further ORDERED that the jury trial shall begin on December 18, 2018 at 8:30 a.m.

        It is further ORDERED that all other provisions of the scheduling order, as amended,

 remain in full force and effect.

                                                                     s/David M. Lawson
                                                                     DAVID M. LAWSON
                                                                     United States District Judge

 Date: September 13, 2018


                                           PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was
                        served upon each attorney or party of record herein by
                        electronic means or first class U.S. mail on September 13, 2018.

                                                   s/Susan K. Pinkowski
                                                   SUSAN K. PINKOWSKI




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